                           No. 25-1550

United States Court of Appeals for the Third Circuit
 NOVADOZ PHARMACEUTICALS LLC, MSN PHARMACEUTICALS
       INC., MSN LABORATORIES PRIVATE LIMITED,
                                          Defendants-Appellants,
                                  v.
 NOVARTIS AG, NOVARTIS PHARMACEUTICALS CORPORATION,
                                Plaintiffs-Appellees.

           On Appeal from the United States District Court
     for the District of New Jersey, No. 2:25-CV-00849-EP-JRA
                     (The Honorable Evelyn Padin)

                MOTION FOR LIMITED REMAND


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Counsel for Defendants-Appellants Novadoz Pharmaceuticals LLC,
MSN Pharmaceuticals Inc., and MSN Laboratories Private Limited
     Pursuant to Federal Rules of Appellate Procedure 12.1 and 27,

Defendants-Appellants       Novadoz      Pharmaceuticals        LLC,    MSN

Pharmaceuticals Inc., and MSN Laboratories Private Limited

(collectively, “MSN”), respectfully move for an order remanding this

appeal to the United States District Court for the District of New

Jersey for the limited purpose of allowing the District Court to

reconsider its grant of a preliminary injunction to Plaintiffs-Appellees

Novartis AG and Novartis Pharmaceuticals Corporation (collectively

“Novartis”).

     The posture of this appeal has fundamentally changed since

March 24, 2025, when MSN filed its notice of appeal of the District

Court’s order granting a preliminary injunction.           D.N.J.Dkt. 35.

Since   then,   the   District   Court   solicited   briefing   under   the

reconsideration standard and granted MSN’s motion to stay the

injunction pending appeal, concluding that—contrary to its prior

determination—Novartis was not entitled to a preliminary injunction.

See Novartis AG v. Novadoz Pharmaceuticals LLC, No. 25-cv-00849

(D.N.J.) (“D.N.J.Dkt.”), ECF 43; id., ECF 51.         The District Court

expressly recognized that its determinations in granting the stay were

“in conflict with its previous holding” but “note[d] that courts
sometimes get things wrong.” D.N.J.Dkt., ECF 51 at 5 n.2. The

District Court declined to grant reconsideration solely on the ground

that it lacked jurisdiction because MSN had filed a notice of appeal.

Id. at 4 n.1. Under Federal Rule of Appellate Procedure 12.1, an

appellate court is authorized to remand under these circumstances

to allow the district court to reconsider its ruling. Fed. R. App. P.

12.1.     Either pursuant to Rule 12.1 or pursuant to its inherent

authority, the Court should remand. In light of the District Court’s

express acknowledgement that the decision on appeal was incorrect,

it would be a waste of party and judicial resources to proceed with

the appeal of that decision, rather than allowing the District Court to

correct its error on remand.

        As contemplated by Rule 12.1, this Court therefore should issue

a limited remand to permit the District Court to issue an order

vacating its earlier decision, which Novartis could then appeal. Once

the District Court has done so, MSN will dismiss its appeal. This

sequencing would resolve the awkwardness of the current procedural

posture of reviewing a decision the District Court already deemed to

have been wrong and permit a more streamlined and efficient judicial

review. As set forth in MSN’s letter dated May 29, 2025, ECF 25, the


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Court should resolve MSN’s motion for a limited remand before

deciding Novartis’s motion to stay, ECF 24.

                            BACKGROUND

      This appeal concerns the District Court’s improper grant of a

preliminary injunction in a trade dress dispute between Novartis and

MSN. D.N.J.Dkt., ECF 32. The relevant factual background has

been set forth in MSN’s prior motion to expedite, see ECF 5, and is

summarized here only to the extent necessary to support this motion.

I.    The First Preliminary Injunction Order.

      On March 17, 2025, the District Court granted Novartis’s

request for a preliminary injunction without first holding an

evidentiary hearing or oral argument.         D.N.J.Dkt., ECF 32.     The

District   Court   preliminarily   enjoined    MSN   from,   inter   alia,

“manufacturing, . . ., selling, marketing, offering for sale, advertising,

promoting or displaying [] MSN[’s] [generic Entresto d]rug, in a

manner likely to infringe on Plaintiffs’ trade dress.” D.N.J.Dkt., ECF

33.   The District Court did so despite recognizing that “[t]here is no

question that MSN would suffer significant hardship if enjoined” and

that MSN “would lose its ‘first mover advantage’ and face financial,

research, and development setbacks.” D.N.J.Dkt., ECF 32 at 18.


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       On March 24, 2025, MSN filed this appeal pursuant to 28

U.S.C. § 1292(a) and, in parallel, moved the District Court to stay its

preliminary injunction pending the appeal. D.N.J.Dkt., ECF 35, 37-

1. In its motion to stay, MSN demonstrated that the District Court’s

decision to grant the preliminary injunction rested on a series of

manifest legal errors, that MSN would be irreparably harmed absent

a stay, and that the balance of hardships and public interest favored

a stay. See D.N.J.Dkt., ECF 37-1.

II.    MSN’s Motion to Stay the Preliminary Injunction Pending
       Appeal and the District Court’s Request for Reconsideration
       Briefing.

       On April 4, 2025, after MSN had already filed this appeal, the

District     Court   sua   sponte    requested      briefing    “under    the

reconsideration standard.”          D.N.J.Dkt., ECF 43.           In MSN’s

reconsideration brief, MSN advised the District Court that it lacked

jurisdiction to reconsider and dissolve the preliminary injunction

because MSN’s notice of appeal divested it of jurisdiction to do so.

See D.N.J.Dkt., ECF 45 at 7–9.           MSN requested that, instead, the

District Court should issue an indicative ruling pursuant to Federal

Rule    of   Civil   Procedure   62.1     stating   that   it   would    grant

reconsideration if this Court remanded for that purpose. See id.


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       Also on April 4, 2025, MSN filed a motion to expedite the instant

appeal. See ECF 5. On April 11, 2025, Novartis opposed that motion,

arguing that it was premature given the reconsideration issue

pending before the District Court. ECF 9 at 1. By orders dated April

15, 2025, this Court “defer[red] action” on MSN’s motion to expedite

and held the “appeal in abeyance pending the District Court’s

decision on reconsideration.”     ECF   11; ECF 12.     The Court also

instructed the parties to notify the Clerk when the District Court

rendered its decision, and instructed MSN to indicate whether it

intends to move forward with the appeal and the motion to expedite.

ECF 11.

III.   The District Court’s Decision on MSN’s Motion to Stay.

       On May 22, 2025, the District Court granted MSN’s motion to

stay the preliminary injunction pending appeal. D.N.J.Dkt., ECF 51.

In doing so, the District Court expressly reversed its earlier ruling

and held that Novartis was in fact unlikely to succeed on the merits

of its trade dress infringement claim and unlikely to suffer irreparable

harm. See, e.g., D.N.J.Dkt., ECF 51 at 5–6. The District Court held

that Novartis had not established a likelihood of success on the

merits because its claimed trade dress was functional and therefore


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unprotectible as a matter of law. See id. at 6–12. The District Court

explained that the color, shape, and size of Entresto pills all serve

functional roles in communicating key dosing information to

Entresto patients and supporting the administration of the

medication.     Id.     On irreparable harm, the District Court

acknowledged that its earlier decision had applied an incorrect legal

framework and held that, under the correct framework, Novartis

failed to demonstrate a non-speculative risk of reputational harm.

Id. at 12–17.

     In granting the stay, the District Court “recognize[d] that its

holding here is in conflict with its previous holding,” but “note[d] that

courts sometimes get things wrong.”         Id. at 5 n.2; see also id.

(“Wisdom does not always find me, so I try to embrace it when it

does—even if it comes late, as it did here.” (quoting Thompson Reuters

Enter. Ctr. GmbH v. Ross Intel. Inc., 765 F. Supp. 3d 382, 389 (D. Del.

2025) (Bibas, J.))).

     The District Court did not take the additional step of sua sponte

reconsidering and vacating the preliminary injunction, as it had

previously indicated it might do, but only because it concluded that

MSN’s notice of appeal divested it of jurisdiction to do so. Id. at 4


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n.1.    The District Court’s conclusion was consistent with MSN’s

position in the reconsideration briefing.      MSN explained to the

District Court that it lacked jurisdiction to reconsider its ruling

because of the pending appeal but urged the District Court to

indicate that it would reconsider its ruling if it had jurisdiction to do

so.    D.N.J.Dkt., ECF 45.    In its decision, the District Court did

precisely that.

IV.    Novartis’s Motion to Stay.

       On May 28, 2025, Novartis filed a motion to stay the District

Court’s order staying the preliminary injunction pending appeal

(“Novartis’s Motion”). ECF 24. On May 29, 2025, MSN requested

that the Court hold briefing on Novartis’s Motion in abeyance until it

rules on MSN’s instant motion to remand. ECF 25.

                             ARGUMENT

       The Court should remand this case to the District Court for the

limited purpose of permitting the District Court to reconsider and

vacate its earlier decision granting the preliminary injunction.

       This Court has the authority to issue a limited remand in these

circumstances. If a motion is made in the district court for relief that

the district court lacks the authority to grant due to a pending appeal


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and the district court indicates “that it would grant the motion or

that the motion raises a substantial issue,” the appellate court may

remand for further proceedings. See Fed. R. App. P. 12.1. In such

circumstances, the court of appeal retains jurisdiction until it

expressly dismisses the appeal. Id. Moreover, this Court possesses

the inherent authority to issue limited remands if necessary for the

proper exercise of appellate jurisdiction.   See 28 U.S.C. § 2106

(granting courts of appeal the power to “remand the cause . . . or

require such further proceedings to be had as may be just under the

circumstances”).

     A limited remand is warranted here. This case presents the

unusual circumstance where the District Court has already

concluded that the decision on appeal, which granted Novartis’s

request for a preliminary injunction, was incorrect.    The District

Court made extensive factual findings supporting its decision to stay

the preliminary injunction, expressly acknowledging that its earlier

findings were erroneous and that “courts sometimes get things

wrong.” D.N.J.Dkt., ECF 51 at 5 n.2. The District Court determined

that the pending appeal divested it of jurisdiction to take the

additional step of reconsidering and vacating the preliminary


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injunction entirely, see id. at 4 n.1, but the decision left no doubt

that the District Court would take that step if given the chance.

Thus, the District Court’s decision should be treated as an indicative

ruling warranting a limited remand. See Fed. R. App. P. 12.1(b).

     Of note, the District Court’s decision is consistent with MSN’s

request in the District Court. Below, after MSN filed its notice of

appeal and the District Court sua sponte sought briefing on

reconsideration, MSN informed the District Court that it lacked

jurisdiction to reconsider its injunction in view of the notice of appeal,

but nonetheless urged the District Court to issue an indicative ruling

under Federal Rule of Civil Procedure 62.1, which would allow this

Court to issue a limited remand under Federal Rule of Appellate

Procedure 12.1. D.N.J.Dkt., ECF 45. The District Court issued such

a ruling as MSN requested. Now, consistent with MSN’s position in

the District Court, MSN requests a limited remand from this Court.

     A limited remand would promote the efficient resolution of the

issues presented in this appeal. First, this Court would benefit from

having the District Court’s most recent analysis before it on appeal,

not an earlier position the District Court has since repudiated. In

particular, the District Court’s recent decision that Novartis’s claimed


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trade dress is functional is dispositive of the entire case irrespective

of other merits issues such as secondary meaning or likelihood of

confusion. See, e.g., Ezaki Glico Kabushiki Kaisha v. Lotte Int’l Am.

Corp., 986 F.3d 250, 260 (3d Cir. 2021) (not reaching “other possible

grounds” for affirming grant of summary judgment in defendant’s

favor where the claimed trade dress was functional and thus “not

protectable”); Sweet St. Desserts, Inc. v. Chudleigh’s Ltd., 69 F. Supp.

3d 530, 549–50, 550 n.9 (E.D. Pa. 2014) (stating that “the [c]ourt

need not consider secondary meaning or likelihood of confusion”

when the court has determined that the claimed trade dress is

functional), aff’d, 655 F. App’x 103 (3d Cir. 2016).      Further, the

District Court’s finding that Novartis is unlikely to suffer irreparable

harm is independently dispositive of Novartis’s entitlement to a

preliminary injunction. Nichino Am., Inc. v. Valent U.S.A. LLC, 44

F.4th 180, 187 (3d Cir. 2022) (“[A] plaintiff’s failure to establish any

element in its favor renders a preliminary injunction inappropriate.”

(citation omitted)).   In any appeal, the Court should review the

District Court’s findings on these two independently dispositive

issues rather than earlier findings on these issues that have been




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superseded or findings on additional issues that the Court need no

longer reach.

     Second, maintaining the appeal in its current posture risks

entangling the Court in complex and unnecessary questions

regarding the applicable standard of review. It is unclear how the

Court could meaningfully apply abuse-of-discretion or clear-error

standards to a preliminary injunction order when the District Court

itself has subsequently exercised its discretion to reject its prior

findings. This Court would have to decide how to treat two conflicting

district court decisions, each arguably entitled to deference.      A

limited remand would eliminate these thorny issues by taking the

District Court’s earlier, superseded decision out of the picture.

     Finally, as a practical matter, the preliminary injunction has

effectively been vacated because Novartis is no longer receiving the

benefit of the injunction.    Under these circumstances, it makes

logical sense for Novartis, not MSN, to be the appellant.

     For these reasons, a limited remand would clear the procedural

underbrush by properly aligning the parties and enabling this Court

to review the issues in a streamlined manner. Given that the District

Court has already completed its well-reasoned analysis of the issues,


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it can issue a reconsideration decision expeditiously following

remand.    Novartis would then have ample time to seek appellate

review, as well as an injunction pending appeal from this Court1

before July 16, 2025, which Novartis itself recognizes is the earliest

date MSN could actually launch its generic product. See ECF 24 at

2, 6, 10, 27.

                            CONCLUSION

     For these reasons, MSN respectfully requests that the Court

issue an order remanding this appeal to the United States District

Court for the District of New Jersey for the limited purpose of allowing

the District Court to rule on the reconsideration issue.

Dated: May 30, 2025                 Respectfully submitted,

                               By: /s/Adam G. Unikowsky

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 Under Fed. R. App. P. 8(a)(1)(C), such relief would have to be sought
in the District Court in the first instance.


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              CERTIFICATE OF BAR MEMBERSHIP

     Pursuant to Local Rules 28.3(d) and 46.1(e), I am a member of

the Bar of this Court.

Dated: May 30, 2025              /s/Adam G. Unikowsky
                                 Adam G. Unikowsky
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                 CERTIFICATE OF COMPLIANCE

     1.   This motion complies with the type-volume limitation of

Federal Rule of Appellate Procedure 27(d)(2) because it contains

2,306 words, excluding the portions of the motion exempted by

Federal Rule of Appellate Procedure 27(a)(2)(B), according to the word

count function of Microsoft Word for Microsoft 365, the word

processing program used to prepare the motion.

     2.   This motion complies with the typeface and type style

requirements of Federal Rules of Appellate Procedure 32(a)(5) and

32(a)(6) because it was prepared in 14-Point Bookman Old Style font.

Dated: May 30, 2025                  /s/Adam G. Unikowsky
                                      Adam G. Unikowsky
                    CERTIFICATE OF SERVICE

     I, Adam G. Unikowsky, an attorney, hereby certify that on May

30, 2025, I caused Motion for Limited Remand to be electronically

filed with the Clerk of the Court for the United States Court of Appeals

for the Third Circuit by using the CM/ECF system. I certify that all

participants in this case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

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